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PROB 12C                                                                                 Report Date: April 1, 2014
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Alfred L. Hawk                            Case Number: 0980 2:09CR02034-EFS-1
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: December 17, 2010
 Original Offense:        Conspiracy, 18 U.S.C. § 371
                          Taking, Transporting, Offering and Selling Eagles, 16 U.S.C. § 668(a)
                          Transporting and Selling Wildlife with a Market Value in Excess of $350,
                          14 U.S.C. § 3372(a) & 3373(d)(1)(B)
                          Taking, Transporting Offering and Selling Eagles, 16 U.S.C. § 668(a)
 Original Sentence:       Prison 6 months                    Type of Supervision: Supervised Release
                          TSR - 24 months
 Asst. U.S. Attorney:     Timothy J. Ohms                    Date Supervision Commenced: October 11, 2012
 Defense Attorney:        Diane E. Hehir                    Date Supervision Expires: September 10, 2014


                                           PETITIONING THE COURT

               To issue a warrant and to incorporate the violations contained in this petition in future
proceedings with the violations previously reported to the Court on November 20, December 10, 2012, March
13, and October 8, 2013.

The probation officer believes that the offender has violated the following conditions of supervision:
Violation Number        Nature of Noncompliance

           10           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: Mr. Hawk has been charged with fourth degree assault and malicious
                        mischief/ physical control at Wapato Municipal Court, cause number D00018473 on March
                        26, 2014.

                        According to the Wapato police narrative report, an officer responded to a call in reference
                        to a domestic violence disturbance. Upon the officer’s arrival, he spoke with the victim, Mr.
                        Hawk’s girlfriend, who reported the defendant hit her on the face.
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                 The victim reported she and Mr. Hawk got into a verbal argument while they were playing
                 pool. She then told the defendant to leave and that is when he got angry. The victim
                 reported Mr. Hawk broke her television in her room, broke a mirror on the wall, and broke
                 some other belongings around the house.

                 The victim reported after Mr. Hawk broke her belongings, she tried to leave, but he threw
                 her down, punched her in the face twice, causing her to bleed and swell. The victim also
                 told the officer after Mr. Hawk punched her in the face, he grabbed her cell phone, took it
                 outside and broke it, so she would not be able to call anyone. The victim stated that after
                 Mr. Hawk left, she went next door to her mother’s residence and called the police.

                 According to the police report, the officer observed the broken items in the residence and
                 took pictures for evidence. The officer indicated he observed swelling around the victim’s
                 eyes and nose. The officer also noted the victim’s eyes were very red and bloodshot and he
                 photographed the injuries for evidence.

                 The officer noted in his report he contacted a judge and was granted probable cause for a
                 protection order. Bail has been set in the amount of $5,000. Also noted in the report was
                 that the Judge advised the officer to charge Mr. Hawk with malicious mischief.
          11     Special Condition # 21: You shall not enter into or remain in any establishment where
                 alcohol is the primary item of sale.

                 Supporting Evidence: Mr. Hawk was located at the Hideout Bar and Grill in Wapato,
                 Washington, on March 28, 2014.

                 According to the Wapato Police Department narrative report, on March 28, 2014, officers
                 responded to the Hideout Bar and Grill located on Wapato Avenue, Wapato, Washington,
                 in reference to a wanted person. The officers located Mr. Hawk inside the bar. The two
                 officers escorted the defendant outside the bar while pending confirmation of the outstanding
                 warrant. According to the police report, dispatch was not able to confirm the outstanding
                 arrest warrant as valid due to unspecified computer error. The defendant was released
                 without further incident.
          12     Standard Condition # 11: The defendant shall notify the probation officer within 72 hours
                 of being arrested or questioned by a law enforcement officer.

                 Supporting Evidence: Mr. Hawk failed to report law enforcement contact within 72 hours
                 of being question on March 28, 2014.

                 Mr. Hawk was contacted by Wapato Police Department on March 28, 2014, but failed to
                 report law enforcement contact to his probation officer.
          13     Standard Condition # 6: The defendant shall notify the probation officer at least 10 days
                 prior to any change in residence or employment.

                 Supporting Evidence: Mr. Hawk has failed to report a change of address as of April 1,
                 2014.
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                      According to Mr. Hawk’s girlfriend, the defendant has been moved out of her residence
                      since March 26, 2014. Mr. Hawk has yet to report a change of address as of April 1, 2014.
          14          Special Condition # 18: You shall undergo a substance abuse evaluation and, if indicated
                      by a licensed/certified treatment provider, enter into and successfully complete an approved
                      substance abuse treatment program, which could include inpatient treatment and aftercare.
                      You shall contribute to the cost of treatment according to your ability to pay. You shall
                      allow full reciprocal disclosure between the supervising officer and treatment provider.

                      Supporting Evidence: Mr. Hawk has failed to attend a drug and alcohol treatment session
                      at the Yakama Nation Alcoholism program on April 1, 2014.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the defendant to
answer to the allegations contained in this petition.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     April 1, 2014
                                                                            s/Jose Zepeda
                                                                            Jose Zepeda
                                                                            U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other
 [ ]      Incorporate Other Violations

                                                                            Signature of Judicial Officer
                                                                             April 1, 2014

                                                                            Date
